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                                                      GUARANTY

                     GUAJL.\NTY dateq as of August 26, 2008 n'),I~de by the undersigned (the
  ,JUarunt01:") in Invor or JPMORGANCHASn BANK. N.A. and any of'its successors or ll.':isigns
 Jlereinafter. th(;"Bank").

                      I)REl.,llVll'NARY STATEIVIENT: LGbman Br<ilthers Inc.; Lehman Brothers
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                      Section LGuarantiyoiPtwment. The ChmraritoTtl:l1c()nditiollul1v and
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 ''LJ,abHJI.i~E''). pursuant to the Cieanmcc Agreement, daled as of June 15, 2000, to \-\thieh \)ne or
 more of the Bonowers and the Bank are parties. as it may hehtrther amended li'om time 10 time
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 Facility Documents, regardJessof whether su~h .interest is aHo\i.-ed or allowable as u claim in su...:h
 case or proceeding. and (h) the obligati<YllS of the BorrO\vers under section 16 of the Clearance
 Agreement This Guaranty is a guaranty of payment and not Df collection only. The Ballk shall
 nol he requirt:d to exhaust any right or remedy or take any £!:;liOI1 against the B011'ow{'rs or any
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